             Case 4:21-cv-05628-YGR Document 15 Filed 11/22/21 Page 1 of 2




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7    Attorneys for Plaintiff                                                       R

8
                       UNITED STATES DISTRICT COURT
9
                      NORTHERN DISTRICT OF CALIFORNIA
10
     ABANTE ROOTER AND                              )      Case No.
11
     PLUMBING,                                      )
12   individually and on behalf of all              )       4:21-cv-05628-YGR
13   others similarly situated,                     )
     Plaintiff,                                     )      NOTICE OF VOLUNTARY
14
     vs.                                            )      DISMISSAL OF ACTION WITH
15   VBJ CONSULTING LLC DBA                         )      PREJUDICE AS TO PLAINTIFF
     YARROW                                         )      AND WITHOUT PREJUDICE AS
16
     FINANCIAL, and DOES 1                          )      TO THE PUTATIVE CLASS.
17   through 10,                                    )
18
     inclusive, and each of them,                   )
     Defendants.                                    )
19

20   NOW COMES THE PLAINTIFF by and through their attorneys to respectfully
21   move this Honorable Court to dismiss this matter with prejudice as to plaintiff
22   and without prejudice as to the class. No Defendant has filed either an answer or
23   a motion for summary judgment at this time, and no Court order is necessary
24   pursuant to Federal Rules of Civil Procedure, Rule 41(a)(1)(A)(i).
25
     Respectfully submitted this 19th Day of November, 2021.
26

27                                             By: s/Adrian R. Bacon Esq.
28
                                                    Adrian R. Bacon
                                                  Attorney for Plaintiff


                                         Notice of Dismissal - 1
             Case 4:21-cv-05628-YGR Document 15 Filed 11/22/21 Page 2 of 2




1                            CERTIFICATE OF SERVICE
2
     Filed electronically on November 19, 2021, with:
3

4    United States District Court CM/ECF system
5
     Notification sent electronically on November 19, 2021, to:
6

7
     To the Honorable Court, all parties and their Counsel of Record

8

9                                           By: s/Adrian R. Bacon Esq.
                                                 Adrian R. Bacon
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                                                 Attorney for Plaintiff
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                                      Notice of Dismissal - 2
